      Case 7:21-po-00001 Document 16 Filed on 10/18/21 in TXSD Page 1 of 5




                       IN THE UNITED STATES MAGISTRATE COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                   MCALLEN DIVISION
                                               *
UNITED STATES OF AMERICA
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EDUARDO LEAL

DEFENDANT'S MOTION FOR JUDGMENT OF ACQUITTAL PURSUANT TO FEDERAL
                 RULE OF CRIMINAL PROCEDURE 29(c)

      THIS COURT ERRED IN CONSTRUING TITLE 16 U.S.C. § 668dd(c) TO MAKE
      AUTHORIZATION AN AFFIRMATIVE DEFENSE RATHER THAN AN ESSENTIAL
      ELEMENT OF THE OFFENSE, AND UNDER THE CORRECT CONSTRUCTION,
      THE EVIDENCE IS LEGALLY INSUFFICIENT TO PROVE THE LACK OF
      AUTHORIZATION ELEMENT.

      a.        Statutory Exception: Element or Affirmative Defense?

       In Vuitch, the U.S. Supreme Court observed that "[ut is a general guide to the
interpretation of criminal statutes that when an exception is incorporated in the enacting
clause of a statute, the burden is on the prosecution to plead and prove that the defendant
is not within the exception." United States v. Vuitch, 402 U.S. 62, 70 (1971) (emphasis
added).
      As in Vuitch, the authorization exception is built into the enacting clause of §
668dd(c)—making it an element—as underlined below:
      No person shall disturb, injure, cut, burn, remove, destroy, or possess any real or
      personal property of the United States, including natural growth, in any area of the
      System; or take or possess any fish, bird, mammal, or other wild vertebrate or
      invertebrate animals or part or nest or egg thereof within any such area; or enter,
      use, or otherwise occupy any such area for any purpose; unless such activities are
      performed by persons authorized to manage such area, or unless such activities are
      permitted either under subsection (d) of this section or by express provision of the
      law, proclamation, Executive order, or public land order establishinq the area, or
      amendment thereof...

16 U.S.C. § 668dd(c).
      This Court cites the Kloess and Guess cases to support that the authorization
exception is not an element,1 but the reasoning in those cases supports that the exception



       1
           See Memorandum and Order, pg. 10.
       Case 7:21-po-00001 Document 16 Filed on 10/18/21 in TXSD Page 2 of 5



is an element. The Kloess Court applied a three-factor test to analyze whether an exception
contained in a criminal statute is an element or an affirmative defense, stating:
       First, we look at the language and structure of the statute itself to determine
       whether the exception is part of the general statutory offense. Second, we look
       at the legislative history of the statute to determine whether Congress
       intended to make the exception an element of the crime. Finally, we look to
       see whether the government is well-situated to adduce evidence tending to
       prove the applicability of the exception. Id. If the answers to these three
       questions are "yes," then the exception is an element of the offense.

United States v. Kloess, 251 F.3d 941, 944 (11th Cir. 2001).

        The first factor—whether the exception is part of the general statutory offense—
essentially restates Vuitch's general rule of statutory interpretation that an exception
incorporated in the enacting clause is an element. Unlike § 668dd(c), the exceptions
contained in the statutes under review in Kloess and Guess were not incorporated into the
enacting clause. See Kloess, 251 F.3d at 945 (observing that "[the exception] appears in a
distinct clause, in a different section of the statute. This suggests that it is not an element of
the crime of obstruction of justice' (emphasis added); United States v. Guess, 629 F.2d
573, 576 (9th Cir. 1980) (same).
        Regarding the second Kloess factor—i.e., whether Congress intended to make the
authorization exception an element of the offense—the defense would note that § 668dd(c)
provides an exceedingly broad description of the authorization sources to include
"subsection (d) of this section or by express provision of the law, proclamation, Executive
order, or public land order establishing the area, or amendment thereof." 16 U.S.C. §
668dd(c). Given the level of generality, this Court observed that "it would be practically
impossible for the Government to prove the negative that no authority allowed the offense
conduct." Memorandum and Order, pg. 13 fn. 10. However, this broad description is
understandable considering that Congress passed § 668dd(c) to describe a crime that could
possibly occur on all National Wildlife Refuge Systems across the United States, of which
there are now 567 to date in counting. See https://www.doi.qov/blog/celebrating-national-
wildlife-refuqes. It is therefore no surprise that Congress described the authorization
exception so broadly because, by statute, permissible recreational uses would be spelled
out under each refuge's comprehensive conservation plan, among other sources. The fact
that the authorization exception is described in broad terms does not say one way or the
other whether Congress intended to make the authorization exception an element or an
affirmative defense.
       The third Kloess factor—ease of proof—concerns "whether the government or the
defendant is better equipped to prove facts that would allow them to take advantage of a
statutory exception." Kloess, 251 F.3d at 946. "Where the defendant is in the better position
to adduce the relevant evidence, [courts] ordinarily view the exception as an affirmative
defense." Id. In Kloess, the exception at issue involved "whether a defendant was providing
lawful, bona fide legal representation in connection with or anticipation of an official
       Case 7:21-po-00001 Document 16 Filed on 10/18/21 in TXSD Page 3 of 5




proceeding." Id. The Kloess Court correctly found this to be "an issue which the defendant
will usually be in the better position to raise in response to" the charge of obstruction of
justice. In contrast to the exception in Kloess, the exception here deals with whether
otherwise prohibited activity would be permitted under "subsection (d) of this section or by
express provision of the law, proclamation, Executive order, or public land order establishing
the area, or amendment thereof." The ease-of-proof factor clearly supports that the
authorization exception is an element because the Government better positioned than the
defendant to know the legal sources governing permissible uses on its own land.

        For these reasons, this Court erred in construing § 668dd(c) to make authorization
an affirmative defense rather than an essential element.

       b.         The Government failed to prove the lack of authorization element
                  beyond a reasonable doubt.

       At the outset of this section, it bears mention that the written citation in ACTION NO.
7:21-PO-0001 references 50 C.F.R. § 27.61, which states: "The destruction, injury,
defacement, disturbance, or the unauthorized removal of any public property including
natural objects or private property on or from any national wildlife refuge is prohibited." 50
C.F.R. § 27.61 (emphasis added). This regulation has not yet been referenced by the
parties.2 However, this regulation underscores that only an unauthorized removal is a crime
and that the Government bears the burden to establish a lack of authorization.

       At trial, the Government argued that the defendant's collection of the items at the
Refuge was not authorized because the activity fell into none of the permitted activities
described under § 668dd(d) or (e), the Plan, or Executive Order 12,996—i.e., hunting,
fishing, or wildlife observation. The Government further argued that the "material detraction"
language found in Section 5.5 of the Plan did not apply insofar as material detraction was
only a consideration regarding the above activities (i.e., hunting, fishing, and wildlife
observation).

        The defense disagrees. Neither § 668dd(d) or (e), the Plan, nor Executive Order
12,996 define the term "hunt." Webster's Dictionary defines the term "hunt" to include,
among other things, "to search out: SEEK" and "to attempt to find something." See
https://www.merriam-webster.com/dictionary/hunt; see also Smith v. United States, 508
U.S. 223, 228 (1993) (relying on Webster's Dictionary to discern the ordinary and natural
meaning of an undefined statutory term).

       The evidence presented by the Government failed to establish—much less establish
beyond a reasonable doubt—that the defendant's conduct did not constitute hunting activity,
or in the alternative, that such hunting activity materially detracted from or materially
interfered with the purposes of the Refuge.3 See FIFTH CIR. PATTERN (CRIM.) JURY


        2
            The undersigned counsel noticed it in reviewing the court papers in preparation for this filing.

         Officer Garcia testified that defendant's activity could, in the aggregate, "negatively impact" the
Refuge's status as a habitat for wildlife, as the Memorandum and Order describes the testimony. However,
       Case 7:21-po-00001 Document 16 Filed on 10/18/21 in TXSD Page 4 of 5




INSTRUCTIONS § 1 .05 (201 9) (defining proof "beyond a reasonable doubt" as "proof of such
a convincing character that [the facthnder] would be willing to rely and act upon it without
hesitation" in finding the defendant guilty).

       Additionally, at least as to the wood, the Government failed to present competent
testimony that the removal of the wood was not authorized under 43 C.F.R. § 3622.4. (i.e.,
removal of petrified wood). There was no testimony—competent or otherwise—regarding
whether the wood was in fact "petrified."

        Finally, the defense respectfully disagrees with the Court's holding that the various
legal sources incorporated by reference into § 668dd(c)'s authorization exception merely
constitute "directives that the Secretaiy or other officials authorize certain recreational
activities" and "do not, by themselves, constitute authorizations for members of the public
to engage in those activities." Memorandum and Order, pg. 13 (emphasis added in original).
The statute is the directive to Secretary to formulate a conservation plan that spells out
permissible activities. Section 5.5 of the Plan is not a directive to the Secretary but rather
the end product of the statutory directive that members of the public may rely on when
assessing authorized recreational activities at a particular refuge. Additionally, to hold that
§ 668dd(c)'s authorization exception is merely a directive to the Secretary renders toothless
and superfluous the authorization exception in all cases prosecuted under that section.


                                                 Respectfully Submitted,

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this testimony is wholly speculative and conclusory and, standing alone, legally insufficient to prove material
detraction beyond a reasonable doubt.
     Case 7:21-po-00001 Document 16 Filed on 10/18/21 in TXSD Page 5 of 5




                             CERTIFICATE OF SERVICE

      I, Chris Gonzalez, certify that on the 18th day of October, 2021, a copy of the

foregoing Defendant's Motion for Judgment of Acquittal Pursuant to Federal Rule of

Criminal Procedure 29(c) was served by Notification of Electronic Filing upon Assistant

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